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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    AMYRIS, INC, et al.,                                            Case No. 23-11131 (TMH)

                             Debtors.1                              (Jointly Administered)

                                                                  Hearing Date: October 18, 2023 at 2:00 p.m. (ET)
                                                             Objection Deadline: October 11, 2023 at 4:00 p.m. (ET)

                                            NOTICE OF MOTION

TO:          (a) the U.S. Trustee, (b) Pachulski Stang Ziehl & Jones LLP, as counsel for the Debtors,
             (c) White & Case LLP, as counsel for the Creditors Committee, (d) DSM, (e) Latham &
             Watkins, as counsel to DSM, and (f) to the extent not listed herein, those parties that have
             requested notice pursuant to Bankruptcy Rule 2002.

       PLEASE TAKE NOTICE that on October 4, 2023, Givaudan SA (together with its direct
and indirect subsidiaries, “Givaudan”) filed the Motion of Givaudan SA Pursuant to Bankruptcy
Rule 2004 and Local Rule 2004-1 for an Order Directing the Production of Documents
(the “Motion”).

        PLEASE TAKE FURTHER NOTICE that any objections to entry of the relief requested
in the Motion must be filed with the Court and served on the below counsel to Givaudan so as to
be received no later than October 11, 2023 at 4:00 p.m. (prevailing Eastern Time).

       PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief requested in
the Motion will be held before the Honorable Thomas M. Horan at the United States Bankruptcy
Court for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom 5, Wilmington,
Delaware 19801, on October 18, 2023 at 2:00 p.m. (prevailing Eastern Time).

    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
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Dated: October 4, 2023            CROSS & SIMON, LLC
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                                  Co-Counsel to Givaudan
